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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SOCIAL POSITIONING INPUT            §
SYSTEMS, LLC,                       §               Civ. A. No. 23-861-MN
                                    §
      Plaintiff,                    §                PATENT CASE
                                    §
v.                                  §               JURY TRIAL DEMANDED
                                    §
KINEXON, INC.,                      §
                                    §
      Defendant.                    §
___________________________________ §

 JOINT STIPULATION OF DISMISSAL OF ALL CLAIMS AND COUNTERCLAIMS

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Social Positioning

Input Systems, LLC (“Plaintiff”) and Defendant Kinexon, Inc. (“Defendant”) hereby stipulate

and agree:

              1.      All claims asserted by Plaintiff in the above-captioned action are hereby

 dismissed WITH PREJUDICE.

              2.      All counterclaims asserted by Defendant in the above-captioned action

 are hereby dismissed WITHOUT PREJUDICE.

              3.      Each party shall bear its own attorneys’ fees, costs, and expenses in

 connection with this action.
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Dated: September 13, 2023

Respectfully Submitted,

PHILLIPS, MCLAUGHLIN & HALL,                     FISH & RICHARDSON P.C.
P.A.,


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                                                 Counsel for Defendant Kinexon, Inc.
Counsel for Plaintiff




IT IS SO ORDERED this 13th day of September 2023.


                               _________________________________________
                               The Honorable Maryellen Noreika
                               United States District Judge




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